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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA

                              Case Number: 06-201 14-CR-MARTINEZ

  UNITED STATES OF AMERICA,

         Plaintiff,
  VS.

  FRANK DEPIERRE a/k/a
  "FRANK DUPREE,"

         Defendant.


        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon the Report and Recommendation issued by United

 States Magistrate Judge Peter R. Palenno, on November 8,2007. The Report and Recommendations

 recommends to this Court, that counsel Stuart Adelstein, Esq, be paid $17,595.85 for his

 representation of the defendant in this matter. The parties were afforded the opportunity to file

 objections to the Report and Recommendation, however none were filed. Accordingly, the Court has

 considered the Report and Recommendation, the pertinent parts of the record, for the reasons stated

 in the Report of the Magistrate Judge, and upon independent review of the file and being otherwise

 fully advised in the premises, it is

        ORDERED AND ADJUDGED that United States Magistrate Judge Peter R. Palenno's

 Report and Recommendation is hereby ADOPTED and AFFIRMED.

        DONE AND ORDERED in Chambers at Miami, Florida, this          fiday of ~ o v e m b e r2007.
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  Copies provided to:
  Magistrate Judge Peter R. Palermo
  Stuart Adelstein, Esq
  Lucy Lara, CJA Administrator
